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May 24, 2024

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Hon. Vince Chhabria
United States District Court, Northern District of California
450 Golden Gate Avenue
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Via ECF

Re:      In re Roundup Products Liability Litigation, Case No. 3:16-md-02741-VC
         Beavers Jr. v. Monsanto Co., Case No. 20-cv-08799-VC
         Gonzalez v. Monsanto Co., Case No. 20-cv-06198-VC
         Rolish v. Monsanto Co., Case No. 20-cv-01421-VC

Dear Judge Chhabria:

On May 17, 2024, Your Honor issued an order in relation to three matters subject to this
multidistrict litigation—the Beavers, Gonzalez, and Rolish cases—excluding each Plaintiff’s
specific causation expert.1 In each case, the Court’s order resulted in the fact that the Plaintiff
has no expert medical testimony in support of the specific causation element of their claims.

Your Honor’s decision ended with the direction that “it appears that summary judgment should
be granted given the absence of any expert testimony on specific causation. The parties should
file a letter within seven days of this ruling which states whether, in light of this ruling, the Court
should file a suggestion of remand or enter summary judgment for Monsanto based on the
absence of expert testimony on specific causation.” Dkt. 18367 at 6. Monsanto submits this
letter requesting that the Court enter summary judgment for Monsanto in the Beavers and
Gonzalez cases.2

Summary judgment is appropriate when there is “no genuine dispute as to any material fact and


1
        The experts whom Plaintiffs disclosed, and whom the Court has now excluded, are Dr.
Christopher Rosenbaum in Rolish, Dr. Claire Murphy in Beavers, and Dr. Omid Hamid in
Gonzalez. Monsanto respectfully notes for the Court that its May 17 order appears, in the first
paragraph, to mistakenly state that Dr. Rosenbaum was the Plaintiff’s expert in the Beavers case
instead of the Rolish case, Dr. Murphy was in Gonzalez instead of Beavers, and Dr. Hamid was in
Rolish instead of Gonzalez. That error does not affect the dispositive fact, for purposes of this
letter-motion, that each Plaintiff lacks a specific causation expert and therefore cannot withstand
summary judgment for lack of necessary expert testimony on the causation element of their claims.
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        Monsanto will submit a separate, joint letter to the Court regarding the Rolish case.


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the moving party is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A “complete
failure of proof concerning an essential element of the nonmoving party’s case” warrants
summary judgment and “necessarily renders all other facts immaterial.” Celotex Corp. v.
Catrett, 477 U.S. 317, 323 (1986).

Beavers is a resident of Washington and Gonzalez is a resident of California. See Beavers
Complaint Dkt. 1-2, ¶ 1.1; Gonzalez Complaint Dkt. 1-1, ¶ 1.3 Under Washington and California
law, expert medical testimony is required to establish causation of a specific physical injury if
such cause is not within the common knowledge of the jurors. See Fabrique v. Choice Hotels,
144 Wn. App. 675, 685 (2008) (“Expert medical testimony is necessary to establish causation
where the nature of the injury involves “obscure medical factors which are beyond an ordinary
lay person's knowledge, necessitating speculation in making a finding.”); Stephen v. Ford Motor
Co., 134 Cal. App. 4th 1363, 1373 (2005) (in a product liability case “where the complexity of
the causation issue is beyond common experience, expert testimony is required to establish
causation”).

Here, Plaintiffs allege that they were diagnosed with cancer as a result of their exposure to
Roundup. “With cancer the question of causation is especially troublesome[;] . . . it is frequently
difficult to determine the nature and cause of a particular cancerous growth.” Jones v. Ortho
Pharm. Corp., 163 Cal. App. 3d 396, 403 (1985). As a result, “the unknown and mysterious
etiology of cancer is beyond the experience of laymen and can only be explained through expert
testimony.” Id. Thus, the causal link between Plaintiffs’ injuries and Roundup is a highly
technical question of science that is beyond the jurors’ understanding.

Because Plaintiffs do not have any expert on the issue of specific causation, they cannot prove
causation—an essential element of all their claims. And without any evidence of case-specific
causation, Monsanto is entitled to summary judgment on all Plaintiffs’ claims. See Sytsma v.
Phillips, 66 Co., 2021 WL 8344148, at *8 (W.D. Wash. July 14, 2021) (“[T]he Court has
excluded any expert identified who would testify as to specific causation. As such, Plaintiff has
failed to provide sufficient admissible evidence to meet the burden of proof in this toxic tort
case.”); Sytsma v. Phillips 66 Co., 2022 WL 1135839, at *3 (W.D. Wash. Apr. 18, 2022)
(adopting report and recommendation and granting summary judgment to defendant based on
lack of specific causation expert testimony); Stephen, 134 Cal. App. 4th at 1373-74 (plaintiff’s
“inability to present expert testimony was fatal to her product liability and negligence claims,
and [thus] nonsuit was proper”); In re Mirena IUD Prods. Liab. Litig., 202 F. Supp. 3d 304, 311
(S.D.N.Y. 2016) (“summary judgment is appropriate where required expert testimony is absent
from the record”); Martinez v. Ethicon Inc., No. 7:19-CV-00164, 2020 WL 2113638, at *2 (S.D.
Tex. May 1, 2020) (“Products liability cases are quintessentially expert cases, and failure to

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        For cases “filed in, or removed to, federal courts across the country and transferred to the
MDL court by the Judicial Panel on Multidistrict Litigation[,] . . . the MDL court must apply the
law of the transferor forum, that is, the law of the state in which the action was filed, including
the transferor forum’s choice-of-law rules.” In re Vioxx Prods. Liab. Litig., 478 F. Supp. 2d 897,
903 (E.D. La. 2007). However, under each of these states’ laws (cited herein), expert testimony
is required to establish specific causation in this case.
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designate experts almost always leads to summary judgment.”); Cooper v. Smith & Nephew, Inc.,
259 F.3d 194, 196-197 (4th Cir. 2001) (affirming dismissal of product liability claims where
appellant “had no admissible medical evidence indicating that [defendant]’s device was the
proximate cause of his injuries”).

For this reason, this Court has granted summary judgment in favor of Monsanto in other
Roundup MDL cases where the plaintiff has lacked a specific causation expert, explaining:

           Expert testimony also is required to establish causation for Matthaus-Shelton’s
           other product liability and tort claims. That’s because whether Roundup caused
           her multiple myeloma is a highly technical question that is not within the common
           knowledge and experience of an ordinary layperson.

Matthaus-Shelton v. Monsanto Company, 20-cv-00168, Doc. No. 17 (Order Granting Summary
Judgment, dated November 29, 2022); see also Adrine Hann v. Monsanto Company, 20-cv-7213,
Doc. No. 23 (Order Granting Summary Judgment, dated November 3, 2022) (“Whether Roundup
caused [Plaintiff’s] multiple myeloma is a highly technical and scientific question. Without
expert testimony, a jury can only speculate.”). The same result is appropriate here.

In the Beavers case, there are two additional pending remaining motions to exclude, regarding
Plaintiff’s experts Dr. Beaton and Mr. Fountaine. However, as with Dr. Murphy, plaintiff has
not filed an opposition to Monsanto’s motions to exclude these experts, and therefore Monsanto
expects these experts will be excluded as well, further supporting summary judgment for
Monsanto at this junction on all claims in the Beavers case.

Monsanto therefore respectfully submits that the Court’s order excluding Plaintiffs’ specific
causation experts requires granting summary judgment for Monsanto and dismissing Plaintiffs’
claims with prejudice in the Beavers and Gonzalez cases.

Very truly yours,

/s/ Jed P. White
Jed P. White
Partner
